Case: 1:18-cv-05326 Document #: 117-1 Filed: 06/15/21 Page 1 of 6 PageID #:883




                Exhibit A
Case: 1:18-cv-05326 Document #: 117-1 Filed: 06/15/21 Page 2 of 6 PageID #:884
Case: 1:18-cv-05326 Document #: 117-1 Filed: 06/15/21 Page 3 of 6 PageID #:885
Case: 1:18-cv-05326 Document #: 117-1 Filed: 06/15/21 Page 4 of 6 PageID #:886
Case: 1:18-cv-05326 Document #: 117-1 Filed: 06/15/21 Page 5 of 6 PageID #:887
Case: 1:18-cv-05326 Document #: 117-1 Filed: 06/15/21 Page 6 of 6 PageID #:888
